     Case 2:18-cv-00673-JAM-CKD Document 70 Filed 09/25/20 Page 1 of 3



 1   MICHAEL J. HADDAD (State Bar No. 189114)
     JULIA SHERWIN (State Bar No. 189268)
 2   TERESA ALLEN (State Bar No. 264865)
     HADDAD & SHERWIN LLP
 3   505 Seventeenth Street
     Oakland, CA94612
 4   Telephone: (510) 452-5500
     Facsimile:   (510) 452-5510
 5
     Attorneys for Plaintiff I.F.
 6
 7
 8                                   UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
     I.F., by and through her guardian ad litem SHASTA     )
11
     SKINNER, individually and as successor-in-interest to )     CAND No: 20-mc-80075-LB
                                                           )     CAED No: 2:18-cv-00673-JAM-CKD
12   Decedent RONELL FOSTER; R.F., by and through his )
     guardian ad litem SHENA BATTEN, individually and )
13   as successor-in-interest to Decedent RONELL           )
     FOSTER; PAULA MCGOWAN, individually; and              )
14                                                         )     STIPULATION AND ORDER OF
     RONELL FOSTER, SR., individually.                     )     DISMISSAL
15                                                         )
                     Plaintiffs,                           )
16   vs.                                                   )
                                                           )
17                                                         )
     CITY OF VALLEJO, a municipal corporation; RYAN )
18   MCMAHON, individually and in his official capacity )
     as a Police Officer for the CITY OF VALLEJO; and )
19   DOES 1-50, inclusive.                                 )
                                                           )
20                                                         )
                     Defendants.                           )
21                                                         )
                                                           )
22                                                         )
                                                           )
23                                                         )
                                                           )
24
25
26
27
28




     No. 2:18-cv-00673-JAM-CKD: STIP. AND (PROPOSED) ORDER OF DISMISSAL
                                                                                                  1
     Case 2:18-cv-00673-JAM-CKD Document 70 Filed 09/25/20 Page 2 of 3


            Plaintiff I.F., by and through her guardian ad litem SHASTA SKINNER, individually and as
 1
 2   successor-in-interest to Decedent RONELL FOSTER, and all Defendants have agreed to settle this

 3   matter. The settlement between these parties having been approved and completed, the parties
 4
     hereby stipulate to the dismissal with prejudice of all claims between this Plaintiff and all
 5
     Defendants, with all parties to bear their own costs and attorneys’ fees.
 6
 7
 8   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 9
10
11
     DATED: September 25, 2020                     HADDAD & SHERWIN LLP
12
13
                                                   /s/ Julia Sherwin
14
                                                   JULIA SHERWIN
15                                                 Attorneys for Plaintiff

16
17
18   DATED: September 25, 2020                       ALLEN, GLAESSNER, HAZELWOOD, WERTH

19
20                                                 /s/ Dale L. Allen, Jr.
21                                                 DALE L. ALLEN, JR.
                                                   Attorneys for Defendants City of Vallejo and Ryan
22                                                 McMahon
23
24
25
26
27
28




     No. 2:18-cv-00673-JAM-CKD: STIP. AND (PROPOSED) ORDER OF DISMISSAL
                                                                                                       2
     Case 2:18-cv-00673-JAM-CKD Document 70 Filed 09/25/20 Page 3 of 3



 1
                                                   ORDER
 2
            Pursuant to stipulation of the parties, and for good cause,
 3
     IT IS SO ORDERED.
 4
 5
 6   DATED: 9/25/2020
 7                                                /s/ John A. Mendez_______________
                                                  JOHN A. MENDEZ
 8                                                United States District Court Judge
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28




     No. 2:18-cv-00673-JAM-CKD: STIP. AND (PROPOSED) ORDER OF DISMISSAL
                                                                                       3
